                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 TIMOTHY BURKE

 v.                                            CASE NO. 8:23-mc-00014-WFJ-SPF

 UNITED STATES OF AMERICA


                NOTICE OF FILING THIRD STATUS REPORT

      The United States of America, pursuant to this Court’s November 8, 2023

Order, Doc. 46, hereby files the United States’ Return/Production Status Report as of

November 9, 2023. Said status report provides detail concerning the United States’

productions of folders/files to Burke in this proceeding.

                                           Respectfully submitted,

                                           ROGER B. HANDBERG
                                           United States Attorney


                                      By: /s/Jay G. Trezevant
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Timothy Burke v. U.S.                            Case No. 8:23-mc-00014-WFJ-JSS

                            CERTIFICATE OF SERVICE

       I hereby certify that on November 9, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

              Michael Maddux, Esq.

              Mark D. Rasch, Esq.

              Jon M. Philipson, Esq.


                                        /s/ Jay G. Trezevant
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